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                      IN THE UNITED STATES DISTRICT COURT
                           DISTRICT OF MASSACHUSETTS

 UNITED STATES OF AMERICA AND THE                 )
 STATE OF CALIFORNIA, ex rel.                     )
 KIMBERLY HERMAN, AMY LESTAGE,                    )
 and KEVIN ROSEFF,                                )
                                                  )
                       Plaintiffs,                )
                                                  )          Civil A. No. 11-cv-12131-RWZ
                       v.                         )
                                                  )
 COLOPLAST A/S, COLOPLAST CORP.,                  )
 HOLLISTER INC., 180 MEDICAL, INC., A-            )
 MED HEALTH CARE CENTER, BYRAM                    )
 HEALTHCARE CENTERS, INC., CCS                    )
 MEDICAL, INC., LIBERATOR MEDICAL                 )
 SUPPLY, INC., RGH ENTERPRISES, INC.              )
 d/b/a EDGEPARK MEDICAL SUPPLIES,                 )
 and SHIELD CALIFORNIA HEALTH                     )
 CARE CENTER, INC.,                               )
                                                  )
                       Defendants.                )
                                                  )


                            Plaintiff’s PROPOSED Verdict Form


       Plaintiff, Amy Lestage, by and through the undersigned counsel, respectfully submits

the below jury instructions for the Court’s consideration:



   1. Has Plaintiff proven by a preponderance of the evidence that the Defendant Coloplast

       discharged, demoted, suspended, threatened, harassed, or otherwise discriminated against

       her in retaliation for her engaging in activity protected by the False Claims Act?

                                     Yes _____        No _____

   If your answers to Question #1 above is no, answer no further questions.




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   2. Has Defendant set forth a legitimate non-discriminatory reason for the adverse action it

       took against Plaintiff?

                                     Yes _____      No _____

If your answers to Question #2 above is no, skip to Question #4.

If your answers to Question #2 above is yes, proceed to Question #3.

   3. Has Plaintiff proven by a preponderance of the evidence that the legitimate non-

       discriminatory reason for the adverse action set forth by Defendant is pretextual?

                                       Yes _____ No _____

   4. What damages do you award Plaintiff to compensate her for lost pay, and/or benefits

       which she would have received from Defendant if the retaliatory conduct had not

       occurred?

              Back Pay                              $______________________

              Diminution of Future Earnings         $______________________

              Other Damages                         $______________________



DATED: April 8, 2019                              Respectfully submitted,

                                                   Counsel for Plaintiff Amy
                                                   Lestage

                                                   /s/ Tawny L. Alvarez
                                                   Tawny L. Alvarez (BBO No. 672255)
                                                   Paul W. Shaw (BBO No. 455500)
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                                CERTIFICATE OF SERVICE

        I hereby certify that on April 8, 2019, I caused a true and accurate copy of the foregoing
document to be filed with the Clerk of Court using the CM/ECF system which will send
notification of such filing to all counsel of record.

                                             /s/ Tawny L. Alvarez
                                             Tawny L. Alvarez




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